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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
                                                            :                              1/11/2021
EVELYN ALVAREZ,                                             :
                                                            :
                                         Plaintiff,         :
                                                            :            20-CV-255 (VSB)
                           -against-                        :
                                                            :               ORDER
NEW YORK CITY DEPARTMENT OF                                 :
EDUCATION et al.,                                           :
                                                            :
                                         Defendants. :
                                                            :
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 VERNON S. BRODERICK, United States District Judge:

          In light of the representations made at the January 11, 2021 status conference in this case,

 (Doc. 23), it is hereby:

          ORDERED that the parties shall appear meet and confer and each submit a letter on or

 before January 22, 2021 indicating each party’s position regarding: 1) whether or not Defendant

 DeVale was properly served, and the reasons for that position, and 2) assuming without deciding

 that service has not properly been effectuated on Defendant DeVale, what impact, if any, that

 should have on Defendant DOE’s pending motion to dismiss.

 SO ORDERED.

Dated:       January 11, 2021
             New York, New York                             ________________________________
                                                            VERNON S. BRODERICK
                                                            United States District Judge
